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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO
                                    Judge William J. Martínez



   Civil Action No. 13-cv-01945-WJM-SKC                                Date: November 16, 2018

   Case Title: Sanchez v. Hartley, et al.

                                   PLAINTIFF’S REVISED FINAL WITNESS LIST


            WITNESS & DATE
                                                        PROPOSED LENGTH OF TESTIMONY
   Will-Call

   Heather Mykes, cross-designated,
   11/26/18, 11/27/18 and 11/28/18                     Direct:   11.01    Cross: 6      Total: 17.0
   Atilla Denes, cross-designated, 11/28/18
                                                       Direct:   1.0      Cross: 1.0    Total: 2.0
   Jon Topolnicki, cross-designated,
   11/28/18                                            Direct: 1.0        Cross: 1.0    Total: 1.5
   Mike Duffy, cross-designated, 11/29/18
                                                       Direct:   2.5      Cross: 2.5    Total: 5.0
   Dr. Richard Spiegle, 11/29/18
                                                       Direct: .5                 .5             1.0
   Tyler Sanchez, cross-designated,
   11/30/18                                            Direct:   .5       Cross: 2      Total: 2.5
   Anthony Sanchez, cross-designated,                                             .
   11/30/18                                            Direct:   1.0      Cross: .5     Total: 1.5
   Cynthia Sanchez, cross-
   designated,11/30/18                                 Direct:   .5       Cross: .5     Total: 1.0
   Janelle McDonald, cross-designated,
   11/29/18 or 11/30/18                                Direct:   .5       Cross: .5     Total: 1.0
   Sgt Jenny McMillan, cross-designated
   11/29/18 or 11/30/18                                Direct: .5                 1.0            1.5

   Iris Eytan, cross-designated, 11/30/18
                                                       Direct:   2.0
                                                                          Cross: 2.0    Total: 4.0
                                                                 .
   Ann Curry 12/3/18
                                                       Direct:   .5       Cross: .5     Total: 1.0
   May Call
   Kathleen Lobato (nka Featherstone)
   11/30/18                                            Direct: 1.0        Cross: .5     Total: 1.5
   Brian Sugioka, cross-designated,
   12/3/18 or 12/4/18                                  Direct: .5         Cross: 1.0    Total: 1.5


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       Includes playing of Sanchez interview videos.
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   Inv. Jason Cirbo, cross-designated,                     .
                                                                       1.0
   12/3/18 or 12/4/18                        Direct: .5    5
   Ryan Hartley, cross -designated
   12/3/18 or 12/4/18                        Direct: 1.0   .5          1.5
   Ryan Wolff, cross-designated 12/3/18 or
   12/4/18                                   Direct: 1.0   .5          1.5
